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       ORDERED in the Southern District of Florida on July 13, 2022.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
       __________________________________
                                          )
       In re:                             )    CASE NO. 21-21661-RAM
                                          )    CHAPTER    13
       VANESSA CRUZ CHIN,                 )
                                          )
                                          )
                      Debtor.             )
                                          )

                                ORDER SETTING FURTHER
                            HEARING AND BRIEFING SCHEDULE
                            ON MOTION FOR RECONSIDERATION

            The Court conducted a hearing on July 12, 2022, on a Motion

       for Reconsideration filed by South Broward Hospital District d/b/a

       Memorial Healthcare System (“Memorial Healthcare”) [DE# 62].            As

       announced at the hearing, the Court finds it appropriate to set a

       further hearing and to impose filing deadlines.             It is -

            ORDERED as follows:
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        1.   The Court will conduct a further hearing on the Motion

for Reconsideration on August 25, 2022 at 11:00 a.m.                      The hearing

will be conducted by video conference using the services of Zoom

Video Communications, Inc.

     2.      For instructions regarding the video conference, please

refer to the General Procedures for Hearings By Video Conference on

Judge        Mark’s    web        page        on     the        Court’s       website,

https://www.flsb.uscourts.gov/judges/judge-robert-mark

     3.      To   register   for    the   video      conference,      click    on   the

following link or manually enter the following link in a browser:

https://www.zoomgov.com/meeting/register/vJIsduqrrTIsGwLENmZWZhscEHry3et9jXQ

     4.      By August 2, 2022, the Debtor shall file a response to the

Motion for Reconsideration addressing both the notice issues and the

sovereign immunity argument.

     5.      If Memorial Healthcare wishes to file a reply in support

of the Motion for Reconsideration, the reply must be filed by

August 19, 2022.

     6.      The Court urges the parties to discuss settlement of this

contested matter before both sides incur what may be significant

legal fees addressing the factual and legal issues raised in the

Motion for Reconsideration.

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